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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


EDWARD BRAGGS, et al.,             )
                                   )
     Plaintiffs,                   )
                                   )            CIVIL ACTION NO.
     v.                            )             2:14cv601-MHT
                                   )                  (WO)
JEFFERSON S. DUNN, in his          )
official capacity as               )
Commissioner of                    )
the Alabama Department of          )
Corrections, et al.,               )
                                   )
     Defendants.                   )

         PHASE 2A OPINION AND ORDER ON PLAINTIFFS’ MOTION
               TO UNSEAL QUARTERLY STAFFING REPORTS

    In June 2017, this court found that the Alabama

prison    system’s    “persistent        and    severe    shortages      of

mental-health     staff     and    correctional          staff”    are    a

significant     factor      causing       the    State      to     provide

constitutionally       inadequate         mental-health          care    to

prisoners.     See Braggs v. Dunn, 257 F. Supp. 3d 1171,

1267-68 (M.D. Ala. 2017) (Thompson, J.).                    As part of

the remedy, the court ordered the Alabama Department of

Corrections     (ADOC)      to    file     under     seal        quarterly
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mental-health and correctional staffing reports.                      See

Phase 2A Understaffing Remedial Order (doc. no. 1657)

at 7.   The plaintiffs moved to unseal these reports and

the defendants agreed, except as to the correctional

staffing statistics broken down by facility.                   The court

held an evidentiary hearing on the sole disputed issue

of whether to unseal the facility-specific correctional

staffing      figures.          After      balancing    the     public’s

interest    in    accessing      these       figures   against    ADOC’s

interest in keeping them confidential, the court will

now   order      that   past    and       future   quarterly     staffing

reports be disclosed in their entirety, albeit with the

facility-specific correctional data being unsealed five

months after the last day of each quarter.



                        I.     PROCEDURAL HISTORY

      The plaintiffs in this class-action lawsuit include

a group of mentally-ill prisoners in the custody of

ADOC.      The defendants are the ADOC Commissioner and

Associate Commissioner of Health Services, who are both


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sued in only their official capacities.                        In a liability

opinion entered on June 27, 2017, this court found that

ADOC’s mental-health care for prisoners in its custody

was, simply put, “horrendously inadequate.”                           Braggs,

257 F. Supp. 3d at 1267.                    The court laid out seven

factors contributing to the Eighth Amendment violation.

Id.     at    1267-68.            Additionally,         it       found     that

“persistent and severe shortages of mental-health staff

and     correctional      staff”        constitute        an     “overarching

issue[] that permeate[s] each of the ... contributing

factors      of   inadequate      mental-health         care.”        Id.    at

1268.

      On February 20, 2018, the court issued a remedial

opinion on understaffing, see Braggs v. Dunn, 2018 WL

985759, at *1 (M.D. Ala. Feb. 20, 2018) (Thompson, J.),

along with a remedial order, see Understaffing Remedial

Order (doc. no. 1657).            The remedial order required the

defendants        to   “submit     to       the   court      under   seal    a

‘Correctional          Staffing    Report’        and     ‘Mental        Health

Staffing Report’ on a quarterly basis, that is, March


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1, June 1, September 1, and December 1 of each year.”

Id. at 7.      The defendants filed such reports under seal

in March, June, and September.

      On   September   17,    2018,    the    plaintiffs     moved       to

unseal past and future quarterly staffing reports.                       At

a hearing on the motion on September 18, the defendants

agreed that the mental-health staffing figures could be

unsealed.      The defendants also acknowledged that, until

June 2017, when the court issued its liability opinion,

ADOC had published correctional staffing figures broken

down by facility every month on its website.                   Defense

counsel     represented       that     the     decision      to    stop

publishing the correctional staff figures was made for

three reasons: (1) concern that the reported figures

were inaccurate; (2) security concerns about disclosing

the   number    of   staff   posted    at    different    facilities,

especially given that the staffing numbers were lower

than in the past; and (3) the number of “authorized”

positions in the reports was no longer relevant.                     See




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Order Regarding Motion to Unseal (doc. no. 2075) at

1-2.

       On September 20, 2018, the defendants agreed to

make    public   the    total    correctional       staffing     levels

across ADOC, but not to break down those figures by

facility.    See Notice of Filing (doc. no. 2066) at 1-2.

The    defendants      cited    “security     and   other     concerns

related to unsealing the facility-specific information

related to correctional staffing levels.”               Id. at 1.

       Accordingly, the only remaining disputed issue from

the plaintiffs’ motion to unseal is whether to unseal

the    facility-specific        correctional     staffing     numbers.

The court held an evidentiary hearing on this issue on

October 23 and 24, 2018, and subsequently heard oral

argument to clarify the parties’ positions.1




    1.    The final transcripts of the proceedings
related to the pending issue are not yet ready.   The
court has, therefore, cited to the “rough transcript”
in this opinion.

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                              II. DISCUSSION

       The public has a common-law right to inspect and

copy    judicial    records     and       documents.      See     Nixon    v.

Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978); see

also Newman v. Graddick, 696 F.2d 796, 802-04 (11th

Cir.    1983)    (applying     the     common-law      right      to   access

judicial records in a class action brought by Alabama

prisoners).        The “test for whether a judicial record

can be withheld from the public is a balancing test

that weighs the competing interests of the parties to

determine       whether   there      is    good   cause      to   deny    the

public the right to access the document."                         F.T.C. v.

AbbVie Prods., LLC, 713 F.3d 54, 62 (11th Cir. 2013)

(internal       quotation     marks       omitted).     This      balancing

test    weighs    "the    public      interest    in   accessing        court

documents       against   a   party's       interest    in    keeping     the

information confidential."             Romero v. Drummond Co., 480

F.3d 1234, 1246 (11th Cir. 2007).                 On the public’s side




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of the scale is the “presumption ... in favor of public

access to judicial records.”                Nixon, 435 U.S. at 602.2

      Here,    to    support     their          motion    to   unseal,    the

plaintiffs     invoke      the   public’s         interest     in    ensuring

both the constitutionality of Alabama’s prisons and the

“judicious          stewardship            of      taxpayer         dollars.”

Plaintiffs’ Pretrial Brief (doc. no. 2100) at 4-6.                          On

the    other    side       of    the       scale,        weighing     against

unsealing,      the       defendants        assert       an    interest     in

“maintaining        the     safety         and     security         of”   ADOC




    2. The factors courts consider in applying the test
include, among others, "whether allowing access would
impair court functions or harm legitimate privacy
interests, the degree of and likelihood of injury if
made public, the reliability of the information,
whether there will be an opportunity to respond to the
information, whether the information concerns public
officials or public concerns, and the availability of a
less onerous alternative to sealing the documents,"
Romero, 480 F.3d at 1246, as well as “whether the
records are sought for such illegitimate purposes as to
promote public scandal or gain unfair commercial
advantage, whether access is likely to promote public
understanding of historically significant events, and
whether   the   press   has   already  been   permitted
substantial access to the contents of the records,”
Newman, 696 F.2d at 803.

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facilities.      Defendants’ Pretrial Brief (doc. no. 2102)

at 14.

    Before examining these asserted interests, it is

helpful to identify the points of agreement between the

parties, and thereby define more precisely the scope of

the dispute before the court.           First, the parties agree

that the contested statistics need not remain sealed

permanently.       Instead, they disagree on how long the

records should remain under seal.3            While the plaintiffs

argued    that    disclosing     the    figures    in    a   quarterly

report five months after the last day of the period

covered   in     the   report   would    adequately      protect     the

public’s access right, the defendants requested that

the figures remain under seal for at least 12 months


    3. Witnesses for both sides indicated that the
degree to which the correctional staffing figures are
up to date affects the security risk that they pose.
For instance, Eldon Vail, the plaintiffs’ expert,
testified that he would not want to post a “real-time”
roster of who is on shift for a particular day.
October 23, 2018, Rough Transcript at 7. Cheryl Price,
ADOC’s Institutional Coordinator, testified that the
more recent the correctional staffing information, the
greater concern it poses. See October 24, 2018, Rough
Transcript at 83.

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after the last day of the period covered.4                See October

24, 2018, Rough Transcript at 94, 125.5

    Second, neither party disputes that understaffing

undermines prison safety.6         The major contested security

issue here is whether and to what extent the disclosure

of statistics showing correctional understaffing poses




    4. Defense counsel specified that the 12-month
delay would be acceptable unless changed circumstances
should arise.  See October 24, 2018, Rough Transcript
at 94.
    5.   Currently,  the   partially   sealed   quarterly
staffing reports are filed with the court two months
after the last day of the period covered by the
quarterly report. For example, the defendants filed on
June 1, 2018, the quarterly staffing report for the
period of January 1 through March 31, 2018.           The
plaintiffs would accept unsealing three months after
the report is filed--resulting in a total five-month
informational delay--and the defendants would accept
unsealing   ten   months   after   the    documents   are
filed--resulting in a 12-month informational delay.

    6.   The   court   has   found  that   correctional
understaffing “leaves many ADOC facilities incredibly
dangerous and out of control” and causes “prisoners and
correctional officers alike” to be “justifiably afraid
for their safety.” Braggs, 257 F. Supp. 3d at 1198.

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a    security       danger,     not    whether     understaffing      itself

causes danger.7

       Third     and    finally,       the    defendants      have   already

agreed      to      make      public    the       aggregate      numbers    of

correctional          staff    employed      at    all   ADOC    facilities.

Therefore, the balancing test here must focus on the

degree         to       which         publishing         facility-specific

information affects each party’s asserted interests as

compared         to     the     publication         of     the     aggregate

correctional staffing figures for all ADOC facilities,

    7. The defendants contend that “it staggers the
imagination” that the plaintiffs and their expert argue
that, on the one hand, correctional understaffing
increases the risk of violence and other security
problems, while, on the other hand, denying that public
dissemination of the staffing levels would increase
security risks. Defendants’ Pretrial Brief (doc. no.
2102) at 10. The defendants’ argument ignores a basic
principle of American democracy: transparency and
public   awareness  promote   accountability  and   good
governance.    See Newman, 696 F.2d at 801 (“Informed
public     opinion    is    critical     to    effective
self-governance.”); cf. Nixon, 435 U.S. at 597-98
(noting that “the citizen’s desire to keep a watchful
eye on the workings of public agencies” is an interest
underpinning the right to access court records). Simply
put, spotlighting government failings can help ensure
that they are remedied.

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not as compared to a hypothetical situation in which no

correctional staffing figures are public.

       In sum, the narrow question before the court is

whether the benefit to the public’s interest that would

result       from    disclosing--with            less    than      the    12-month

delay accepted by the defendants--the facility-specific

figures       (as    opposed     to    the       already-public          aggregate

figures) outweighs the cost in terms of security that

would    result       from     such    disclosure.               As    elaborated

below, the court finds that the benefit outweighs the

cost    if    a     five-month    delay       is      used    to      balance   the

competing interests.



                       A.    The Public’s Interest

       The plaintiffs assert two interests that the public

has in accessing the disputed staffing figures.                             First,

they     argue,      the     public     has       a     strong     interest      in

ensuring      the     constitutionality            of    Alabama’s        prisons.

Second,       the    public      has    a     strong         interest     in    the

“judicious           stewardship            of        taxpayer           dollars.”


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Plaintiffs’      Pretrial         Brief    (doc.       no.    2100)       at   6.

Courts    have       recognized      similar       interests         in    cases

concerning       public       access       to     judicial       and       other

government records.           For example, in Kelly v. Wengler,

the plaintiff prisoners sought to unseal a series of

filings related to defendant Corrections Corporation of

America (CCA)’s failure to staff the Idaho Correctional

Center adequately.            979 F.       Supp. 2d 1243, 1244 (D.

Idaho 2013) (Carter, J.).              In granting the plaintiffs’

motion    to     unseal,      the    court      reasoned        that      “Idaho

taxpayers      pay    CCA    to   operate       one    of    their     prisons.

With public money comes a public concern about how that

money is spent.”             Id. at 1246; see also Newman, 696

F.2d     at    801     (“This       litigation          concerning         penal

administration in Alabama is of paramount importance to

the citizens of that state.”); Storm v. Twitchell, 2014

WL 4926119, at *14 (D. Idaho Sept. 29, 2014) (“Whether

conditions      at    the    county       jails       violate    the      Eighth

Amendment      of      the    United       States        Constitution          is

important information for the general public to know.”)


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(Dale, M.J.); cf. News-Press v. U.S. Dep’t of Homeland

Sec., 489 F.3d 1173, 1196 (11th Cir. 2007) (holding, in

a Freedom of Information Act (FOIA) case, that “the

public interest in determining whether FEMA has been a

proper    steward    of       billions       of   taxpayer      dollars     is

undeniable and powerful”).

    Zooming       out,   in    this    case,      the    plaintiffs’      two

separate asserted interests appear to be two facets of

Alabamians’ overarching interest in ensuring the sound

and lawful administration of publicly funded government

agencies.      That is, certain Alabamians may care about

correctional       understaffing           because      they    care     about

whether their tax dollars are misspent; others may care

about    the   issue      because          they   do    not     want    their

government to violate the Constitution.                      Either way one

looks at it, Alabamians indisputably have a powerful

interest in overseeing ADOC’s performance.

    The     big     question,         then,       is    to     what    degree

publishing     facility-specific--as              opposed      to   overall--

correctional      staffing      figures       advances       this     powerful


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interest.           Put    differently,      what      is    the     difference

between       the     public       knowing     that        there     are     3,326

assigned          correctional       officer     positions           throughout

ADOC, of which 1,096 are filled, and, on the other

hand, that there are, for example, approximately 270

assigned to prison X, but approximately only 50 filled?

See    June       2018     Quarterly    Staffing       Report        (doc.        no.

1858-1)       at    2.       The    court    finds     that        there     is    a

substantial difference.

       To   start,        publishing    only    the        aggregate       vacancy

rate (67 %, 2,230/3,326) fails to inform the public

that        the     vacancy         rate--and       thus       understaffing

problem--is actually much worse at certain facilities,

such as, for example, prison X (approximately 81 %,

220/270).          See id.         Furthermore, local and national

media       outlets       have     written   about         understaffing          at

particular          Alabama         prisons,      which            shows      that

facility-specific             understaffing           is     an      issue        of

significant         public       concern.      See,    e.g.,       Mike     Cason,

Chronic Understaffing Grows Worse in Alabama’s Tutwiler


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Prison,           AL.com          (Nov.                29,           2017),

https://www.al.com/news/index.ssf/2017/11/chronic_under

staffing_grows_wo.html;        Campbell       Roberton,        An    Alabama

Prison’s Unrelenting Descent Into Violence, N.Y. Times

(Mar.                           28,                                  2017),

https://www.nytimes.com/2017/03/28/us/alabama-prison-

violence.html       (describing        lawsuit          alleging       that

understaffing leads to violence at St. Clair); Connor

Sheets,   Who’s    Guarding     Alabama’s        Death        Row?   Holman

Prison    ‘Severely     Understaffed,’          Internal        Documents

Show,          AL.com            (Jan.             27,               2017),

https://www.al.com/news/birmingham/index.ssf/2017/01/wh

os_guarding_alabamas_death_r.html.               Finally, something

is to be said for the storytelling principle that any

good journalist knows: the more detailed a picture of a

problem   is--and     the    closer      it     gets     to    the    human

scale--the more vivid, graspable, and thus demanding of

public attention it can become.               To hide the details of

understaffing is to hinder public oversight of ADOC.




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       Granted, the defendants do not oppose unsealing the

quarterly facility-specific figures 12 months after the

last    day    of    the     period       covered    by    the    report     in

question.      Nevertheless, this court finds that there is

a substantial difference between a 12-month delay and

the two-month delay with which the quarterly reports

are currently published.                   When this court originally

ordered the quarterly reports, it determined that they

were “necessary to apprise the court of whether the

defendants’               plan         is         addressing           ADOC’s

correctional ... understaffing                    effectively        and     as

quickly       as    possible,       and      to   alert     the     court    if

additional         measures      are    needed.”          Braggs,    2018     WL

985759,       at    *9.          Similar     reasoning      applies        here:

up-to-speed          quarterly         reports       published        without

significant delay are needed to apprise the public of

whether    the      defendants         are   addressing      understaffing

“effectively and as quickly as possible,” and to alert

the public “if additional measures are needed.”                             Id.8



       8. See Kelly, 979 F. Supp. 2d at 1245 (“The public
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While the public does not need real-time correctional

staffing    figures,       a     12-month    delay    would     seriously

hamper its ability to monitor ADOC’s staffing efforts.

     In     sum,          unsealing         the      facility-specific

correctional staffing figures with less than a 12-month

delay would substantially advance the public’s interest

in   overseeing          ADOC’s    administration       of      Alabama’s

prisons.



                     B.     Defendants’ Interests

                     1.     Security and specificity

     On   the     other    side    of    the scale,    the    defendants

assert     their     interest       in    maintaining        safety   and

security    within        ADOC    facilities.        They     argue   that

“clear case law recognizes the compelling interest in

maintaining a seal on judicial records ... containing

critical correctional staffing information,” and cite

three     cases     in     particular       that     “counsel     against

has a right, and even a responsibility . . . to monitor
the activities and performance of their own government
and use this information to implement change if
needed.” (quoting Skinner v. Uphoff, 2005 WL 4089333,
at *3 (D. Wyo. Sept. 27, 2005) (Brimmer, J.)).
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unsealing.”       Defendants’ Pretrial Brief (doc. no. 2102)

at 8.        Yet, the three cited cases do little to support

maintaining confidentiality here.                   In fact, upon closer

examination,       they      reveal       a    principle       that    supports

unsealing:       it    is     disclosing          staffing      figures           for

specific locations within a prison, not total staffing

figures for a prison, that poses a serious security

risk.

       For    example,      the   defendants        cite      the     FOIA    case

Raher v. Fed. Bureau of Prisons, 749 F. Supp. 2d 1148,

1155     (D.     Or.     2010)     (Stewart,           M.J.),       and      in    a

parenthetical describe the court there as finding that

“disclosure of correctional staffing information ‘could

present a security risk.’”                     Id. at 8 (quoting Raher,

749 F. Supp. 2d at 1155).                     However, the full sentence

in     the    Raher    opinion       is       actually:       “disclosure          of

certain       ‘staffing      patterns,’          such    as     the    specific

number of guards in a specific location at a specific

time, could present a security risk, but more general

staffing       patterns,      such    as       total    number        of   guards


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employed in a facility, likely does not.”                      Raher, 749

F. Supp. 2d at 1155 (emphasis added).                      The end of the

sentence,       omitted       by     the       defendants,       directly

contravenes their security argument because it states

that    publishing    the     information        at    issue    here--the

total number of guards employed at a prison--“likely

does not” pose a security risk.                Id.

       The defendants cite a footnote in a second case,

Kelly v. Wengler, 979 F. Supp. 2d 1104, 1112 n.14 (D.

Idaho 2013) (Carter, J.).              In the footnote, the court

admitted it had used “vague” language in the opinion by

referring    to   a   “handful”           of   officers     posted   in   a

particular area of the prison because the court “agrees

with    Defendants     that        publicizing       specific    staffing

assignment numbers could cause security problems for

the facility.”        Id.     Notably, the decision came down

just a few months after another ruling in the same

litigation, discussed earlier in section II.A of this

opinion, where the court granted the plaintiffs’ motion

to     unseal     documents          relating         to     correctional


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understaffing.        See Kelly, 979 F. Supp. 2d at 1244.

And when the footnote is read in the context of the

full   opinion,        its        ostensible        support          for     the

defendants’     security         argument      falls   apart.         This    is

because   the    opinion      repeatedly         refers   to        statistics

showing ongoing correctional understaffing problems at

a particular correctional facility, which demonstrates

that the court had no security qualms with disclosing

such data.      For instance, the opinion states that there

were typically 55 mandatory posts for the day shift at

the facility, and 37 for the night shift, and cites

evidence that there were more than 4,800 hours over a

seven-month     period      at    the facility         where    a     security

post was vacant.           See Kelly, 979 F. Supp. 2d at 1108,

1109   n.5.          The     court        further      noted        that     the

understaffing persisted up to the time of the ruling.

Id. at 1109.        Finally, the footnote cited by defendants

expressed     its     hesitation          to    publish       the     staffing

assignment numbers in a particular location within a

facility,     which     is       distinct       from    the     defendants’


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security concern with posting the overall figures for

an entire facility.            See, e.g., Raher, 749 F. Supp. 2d

at 1155 (explaining that disclosing the number of staff

at a specific location at                   a specific time within a

prison could present a security risk, but publicizing

the   total    number     of    guards        employed     in    a     facility

likely does not).

      A third decision cited by the defendants, Grassi v.

Corr. Corp. of Am., is also distinguishable from the

case here.       2008 WL 5172154, *1 n.2 (D. Col. Dec. 9

2008)    (Krieger,    J.).           There,      the    court    granted    the

defendants’      motion    to        seal    a    confidential         Colorado

Department of Corrections (CDOC) policy governing the

transportation of inmates, which contained “sensitive

security      procedures       and    staffing         levels    to    be   used

during     inmate       transportation             outside       of      prison

facilities.”        Id.        The    court      reasoned       that    “CDOC’s

security       interests         in         keeping       this         material

confidential outweighs the public interest in access to

court    records,    particularly             because      the    particular


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details of the transportation procedure are of fairly

minimal relevance to the issues resolved herein.”                       Id.

The     decision    is    distinguishable       on       three     grounds.

First, the documents at issue there contained staffing

levels and “sensitive security procedures,” not just

staffing    levels.         Id.      Second    and       relatedly,     the

staffing     levels       pertained     to     a        specific     prison

procedure--transporting inmates outside of prison--not

to    the   overall       staffing    within        a    facility.       As

discussed        above,      this     more      granular           staffing

information is more likely to present a security risk.9

Third, the court’s reasoning that the procedures the

plaintiffs sought to disclose were “of fairly minimal

relevance” to the merits of the case does not apply

here,    given     that    understaffing       is       central    to   this

litigation.      See Braggs, 257 F. Supp. 3d at 1267-68.




    9. Transporting inmates outside of prison presents
unique security risks that are not at issue here.
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                            2.    Dangerous deductions?

      The     three     cases          cited        by    the    defendants       thus

indicate       that    the        prospect           of    disclosing         staffing

numbers for a particular location within a prison is

what creates significant security concerns.                                   In light

of    this    principle,           the        testimony         of    Cheryl    Price,

ADOC’s       Institutional              Coordinator,             is    particularly

noteworthy,         because        she       suggested       that      ADOC    inmates

could use the overall staff numbers for a facility to

deduce       how    many     security             officers       are    on     post   at

particular locations within the facility.                               See October

24,    2018,       Rough     Transcript             at    75-76,       81-82.         For

example,       she     said,           if     prisoners         were    to     read    a

quarterly          report        and        see     the   number       of     officers

employed       at     Bibb        Correctional             Facility          during    a

particular period, they could divide that number by the

number of shifts to roughly determine how many officers

are on guard at a time.10                         Armed with the knowledge of



    10. Based on defense counsel’s representations
about the content of the staffing reports, it appears
unlikely that inmates could accurately deduce how many
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the number of guards on shift, an inmate viewing guards

in his particular location of the prison could estimate

how many are left in the rest of the facility.                        And if

inmates    from    different    areas       of    the    prison      were   to

communicate         with       each          other--perhaps            using

cellphones--they could deduce the numbers of officers

present    in   specific    remaining         areas     of    the    prison.

Price’s     suggestion     that       the     inmates        could    deduce

location-specific staffing numbers from a total number

of staff in a facility is concerning.

    Yet, this concern is almost entirely mitigated by

the fact that the types of extrapolations Price fears

would     hardly    give   inmates          any   more       knowledge      of

staffing presence than what they can already learn with

their own eyes.      As Price admitted, the inmates can see



guards are on shift at a particular time. Counsel said
that the “actual” staffing figures for each facility in
the quarterly reports do not reflect overtime hours.
See October 24, 2018, Rough Transcript at 104.       If
officers work in excess of their assigned shifts, and
those overtime hours are not reflected in the quarterly
reports, then one cannot determine the number of staff
working on a particular day by dividing the total staff
by the number of shifts.
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how   many    guards    are    present     in    different    sensitive

areas of the prison, such as the towers, perimeter, and

yard.      Id. at 78.11       In Price’s own words, the inmates

“already     have   a   visual    on     our    staffing.     It’s     not

rocket science to see if you only have 60 officers

assigned at Bibb, and you’ve got four shifts, where

those      officers     are      located.           Publishing       this

information      just   confirms       that     fact.”      Id.   at     61

(emphasis added).          Indeed, if prisoners from different

areas of a facility can communicate with each other

using cellphones, as Price suggested, they could simply

share with each other their first-hand observations of

how many officers are in each location, without needing

to do any extrapolating.

      To   her   credit,      Margaret    Savage,    the    defendants’

expert, also concedes that “casual observation may lead

inmates to the same conclusion” that they would reach

by deducing security weaknesses from the total staffing


    11. Two ADOC inmates also testified that they could
personally observe whether certain security posts are
staffed or not. See October 24, 2018, Rough Transcript
at 13-14, 29-30.
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numbers      at    a    particular    facility.        Savage     Affidavit

(doc. no. 2104-1) at 5.12                  Still, Savage conjectures

that publishing the figures would make matters worse

because       “external         confirmation    may        be    enough     to

embolden inmates to attempt” illegal activities.                           Id.

This is speculation about what might motivate inmates

to act, not evidence that publication of the statistics

will        broaden        inmates’        knowledge        of     security

vulnerabilities in prison.

       As    the       Newman   decision    makes     clear,      the     mere

possibility        of    prison    violence    is    not    sufficient      to

justify      keeping       judicial   records       confidential.         696

F.2d    at    803-04.           There,   the    Commissioner        of     the

Department         of      Corrections       testified          “only     that

publication [of the court filings] could make prison



    12. Plaintiffs objected to any consideration of
Savage’s affidavit, given that she did not testify.
See October 23, 2018, Rough Transcript at 30.    They
requested an opportunity to cross examine her if the
court relied on her affidavit.   Because the court is
not relying on Savage’s affidavit to support any
findings in favor of keeping the documents sealed, it
is not necessary to allow the plaintiffs to cross
examine her.
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violence    a    ‘possibility,’”            leading     the     court     to

conclude    that     “fear    of   prisoner       unrest ... was         not

established.”          Id.    at     803.        The    court       allowed

newspapers to copy the filings.                  Like in Newman, the

defendants here have not shown that it is anything more

than a “possibility” that external confirmation of what

the prisoners already observe about understaffing would

embolden them to act.            At the end of the day, because

prisoners personally witness understaffing, “it is not

at all certain from the record that preventing” public

viewing of the staffing reports would accomplish the

“purpose    [of]       keeping     the       information        from     the

prisoners.”     Id.



                3.     Other prison systems’ websites

    The defendants argue that no other department of

corrections     with    staffing        levels    similar      to   ADOC’s

publishes       facility-specific            staffing        information.

Defendants’     Pretrial      Brief      (doc.    no.       2102)   at   11.

Savage   asserted      that    she    “sampled        the    websites     of


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several     other     departments           of        correction          with    low

correctional        staffing        levels”           and      none       of      them

“regularly       publishes         facility-specific                 correctional

staffing and vacancy information on their websites.”

Savage Affidavit (doc. no. 2104-1) at 6.                              Plaintiffs’

counsel, on the other hand, said that facility-specific

staffing     information          is     “available           for     a     lot     of

states,”    including       for     Louisiana           and      Georgia.          See

October    24,   2018,      Rough      Transcript           at    110-11.          The

court need not resolve the factual dispute of how many

other departments of corrections publish the figures,

because it is beside the point.                       The question here is

not whether, as a policy matter, ADOC should publish

the   staffing        figures       in      the       ordinary        course        of

business;    rather,        the    issue         is    whether        the      public

should be allowed to access records filed in this court

proceeding.            Evidence           that         other         correctional

departments      do   not    publish        staffing          data    would       only

bolster the defendants’ security arguments here if the

defendants       provided         proof      that        these        departments


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declined      to    publish        the    data      based         on      security

concerns.          The     defendants     offered           no     such     proof,

however.

       The   only    evidence       the     court      heard        on     another

department’s         decision        whether          to         publish       such

information        was     the    testimony      of        Eldon       Vail,    the

plaintiffs’ expert.              He testified that while Secretary

of the Washington Department of Corrections, he would

provide the public with correctional staffing numbers

upon request, but did not routinely publish them on the

website because the issue never came up.                           See October

23, 2018, Rough Transcript at 5-6.                         Vail’s testimony

thus    demonstrates        that    the     absence         of     correctional

staffing figures on other departments’ websites does

not necessarily mean that the officials there believed

publication        posed    a    security     risk.          In     fact,      Vail

unequivocally opined that publishing the ADOC figures

at issue here would not create a security risk.                            Id. at

11.




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       Perhaps most notably, the evidence the court heard

on ADOC’s own decision in 2017 to end its more than

15-year practice of publishing the quarterly staffing

reports on its website leads the court to conclude that

security      was   at      best        a    minor,          and    possibly     even

post-hoc,     reason       behind       the       decision.           Steve    Brown,

former     chief      of        staff       to        the    ADOC    Commissioner,

testified      that        he     and       the        commissioner       made    the

decision to remove the quarterly staffing information

from    the   website           because          it    was    inaccurate.         See

October 23, 2018, Rough Testimony at 49-50.                                   Brown’s

October 2, 2017, email to his staff instructing them to

remove the information confirms as much, as it states

that: “We want to pull the personnel chart from the

monthly statistical report until the staffing studies

are    completed      and       we    have        accurate         data   concerning

staffing shortages.”                 Brown Email (doc. no. 2091-3) at

1.     While Associate Commissioner Grantt Culliver said

that he had informally raised some security concerns

regarding the publication of the data in 2017, Brown


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suggested that Culliver’s concerns were basically an

afterthought raised after Brown and the commissioner

already intended to remove the information due to its

inaccuracy.       See October 23, 2018, Rough Transcript at

50.    To be clear, just because security was not the

driving force behind the original decision in 2017 to

stop publishing the staffing figures does not mean the

defendants cannot now cite security as a reason not to

disclose them.          What the defendants’ reasoning behind

the    prior      decision       does    demonstrate--like      Vail’s

testimony--is       that     a     department     of    corrections’

decision not to routinely publish staffing data does

not necessarily show that prison officials viewed such

publication to be dangerous.

      In   sum,   the    court    finds   that,   while    publishing

facility-specific quarterly correctional staffing data

possibly poses some degree of risk, the risk is not

significant enough to overcome the strong interest in

public disclosure of the information.




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                       C.    Balancing the Interests

       Taking a step back, the court’s decision here can

be conceptualized as that of picking a point on a graph

with two axes.          One axis measures the specificity of

the    correctional         staffing       figures,    and   ranges      from

publishing the number of staff in a particular post in

a     prison     to    publishing       the     aggregate       number      of

correctional staff in all ADOC facilities.                       The other

axis measures the delay with which the statistics are

published,       ranging      from     disclosing      real-time      daily

staffing        statistics,      to    delaying        years,    or      even

permanently sealing them.              The more granular the data,

and the more recent it is, the greater the security

risk,     and    the   greater       its    value     in   informing      the

public.        Conversely, the less recent and granular the

data is, the less security risks and informative value

it presents.

       The points on the delay-specificity graph that the

parties propose are not so far apart.                      The defendants

currently disclose, with a two-month delay, quarterly


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reports     containing         aggregate          correctional          staffing

numbers,       and    have    expressed         willingness        to   disclose

quarterly       facility-specific           numbers      with      a    12-month

delay. By contrast, the plaintiffs moved to disclose

the quarterly facility-specific figures that are filed

with a two-month delay, and ultimately indicated that

they    would        accept    disclosing          the   figures        with     a

five-month delay.

       Weighing the public’s and the defendants’ interests

analyzed       above,        the   court         finds   that       disclosing

quarterly       facility-specific            data    with      a    five-month

delay--that          is,   three   months        after   the       reports     are

filed     in     court--strikes             an     appropriate          balance.

Delaying       the     unsealing      of    the     staffing       reports      an

additional       three       months    sufficiently         mitigates          the

security       concerns       raised       by    defendants,        while      not

unduly hampering the public’s ability to oversee ADOC’s

spending as well as its compliance with court orders

and the Constitution.




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                                       ***

       Accordingly,      it     is    ORDERED    that    the    plaintiffs’

motion    to    unseal    the        defendants’      quarterly       staffing

reports (doc. no. 2045) is granted to the extent that,

for    each    past     and    future       quarterly    staffing       report

filed by the defendants, the defendants are, initially,

to file the facility-specific correctional data under

seal    and    then,     five    months       after     the    last    day    of

quarter       covered    by    the     report,     to   refile    the      data

unsealed.         None    of     the     other     information        in     the

quarterly reports shall be filed under seal.

       DONE, this the 2nd day of January, 2019.

                                  /s/ Myron H. Thompson
                               UNITED STATES DISTRICT JUDGE




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